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4
     Attorney for Defendant
5    ANGELA SHAVLOVSKY

6

7                          IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,             )    2:11-CR-00427 TLN
                                           )
11                            Plaintiff,   )    STIPULATION AND ORDER
                                           )    TO CONTINUE SENTENCING AND MODIFY
12   v.                                    )    SCHEDULE OF DISCLOSURE
                                           )
13                                         )
     ANGELA SHAVLOVSKY,                    )
14                                         )
                             Defendant.    )
15   __________________________________    )

16
                                        STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jared Dolan, and defendant, Angela
19
     Shavlovsky, by and through her counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for judgment and sentencing, April 6, 2017 at 9:30
21
     a.m., in the above-captioned matter, and to continue the judgment and
22
     sentencing to May 25, 2017 at 9:30 a.m. in the courtroom of the Honorable
23
     Troy L. Nunley.
24
           In addition, the parties stipulate to the following modification to the
25
     schedule of disclosure relating to pre-sentence report (“PSR”):
26
           Informal objections to PSR           April 27, 2017
27
           Final PSR                            May 4, 2017
28



                                    Stipulation and Order - 1
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1          Motion for correction of PSR             May 11, 2017

2          Government’s reply                       May 18, 2017

3          The parties have received the draft PSR and Ms. Radekin has provided a

4    copy to Ms. Shavlovsky.    Ms. Radekin intends to file informal objections;

5    however, she needs additional time to re-review relevant portions of the

6    voluminous discovery in this case and to prepare the informal objections.

7    The Court is advised Mr. Dolan and Ms. Chavez have no opposition to the

8    proposed dates set forth above, and Mr. Dolan has authorized Ms. Radekin to

9    sign this stipulation on his behalf.

10         Accordingly, the parties respectfully request the Court adopt this

11   proposed stipulation.

12   IT IS SO STIPULATED

13   Dated: March 13, 2017                          PHILLIP A. TALBERT
                                                    United States Attorney
14
                                            By:      /s/ Jared Dolan
15                                                  Jared Chase Dolan
                                                    Assistant United States Attorney
16

17   Dated: March 13, 2017                           /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
18                                                  Attorney for Defendant
                                                    ANGELA SHAVLOVKSY
19

20
                                            ORDER
21
           For the reasons set forth in the accompanying stipulation, the date set
22
     for judgment and sentencing, April 6, 2017 at 9:30 a.m. is VACATED and the
23
     above-captioned matter is set for May 25, 2017 at 9:30 a.m. in the courtroom
24
     of the Honorable Troy L. Nunley.
25
           It is FURTHER ORDERED that the schedule of disclosure be modified as
26
     follows:
27
           Informal objections to PSR               April 27, 2017
28



                                    Stipulation and Order - 2
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1          Final PSR                          May 4, 2017

2          Motion for correction of PSR       May 11, 2017

3          Government’s reply                 May 18, 2017

4    IT IS SO ORDERED.

5    Dated: March 14, 2017

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7
                                            Troy L. Nunley
8                                           United States District Judge
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                                  Stipulation and Order - 3
